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 9                       UNITED STATES DISTRICT COURT
10                                EASTERN DISTRICT OF CALIFORNIA

11
     WILLIAM LEE JOHNSON, et al.,                       Case No. 1:19-cv-00105-SAB
12
                    Plaintiffs,                         ORDER VACATING DEADLINE FOR
13                                                      FILING MOTIONS IN LIMINE
            v.
14                                                      SETTING A STATUS CONFERENCE ON
     CARLETON TECHNOLOGIES, INC., et al.,               JULY 2, 2024
15
                    Defendants.                         (ECF No. 158)
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18         The parties have consented to the jurisdiction of a magistrate judge, and this matter has

19 been assigned to the undersigned for all purposes, including trial and entry of judgment. (ECF
20 Nos. 153, 154, 155, 156, 157, 159.) A pretrial conference was held in this matter before the

21 then-assigned District Judge on November 6, 2023. (ECF No. 124.) A jury trial was set for

22 September 17, 2024 and a briefing schedule for motions in limine was issued, which was

23 subsequently modified. (ECF No. 125, 128, 147.) Currently, the deadline to file motions in

24 limine is June 14, 2024, and oppositions, if any, are due on June 28, 2024. (ECF No. 147.)

25         On June 13, 2024, the parties filed a stipulation to modify the pretrial order to vacate the

26 deadline for motions in limine. (ECF No. 158.) The parties also request that the Court set a
27 status conference to discuss a new motion in limine briefing schedule and the viability of a

28 September 17, 2024 trial date. Given the reassignment to the undersigned and the agreement by

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 1 the parties, the Court shall vacate the motions in limine briefing schedule and will set a

 2 scheduling conference. The September 17, 2024 trial before District Judge Thurston shall be

 3 vacated.

 4          Accordingly, IT IS HEREBY ORDERED that:

 5          1.      The June 14, 2024 deadline for filing of motions in limine is VACATED;

 6          2.      The jury trial set for September 17, 2024 before District Judge Jennifer L.

 7                  Thurston is VACATED; and

 8          3.      All parties shall appear for a status conference on July 2, 2024 at 11:30 a.m. in

 9                  Courtroom 9. Parties may appear by videoconference.

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     IT IS SO ORDERED.
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12 Dated:        June 14, 2024
                                                        UNITED STATES MAGISTRATE JUDGE
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